                                          Case 3:18-cv-04978-JD Document 252 Filed 11/23/20 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         DZ RESERVE, et al.,
                                   7                                                        Case No. 3:18-cv-04978-JD
                                                        Plaintiffs,
                                   8
                                                 v.                                         AMENDED SCHEDULING ORDER
                                   9
                                         FACEBOOK, INC.,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court sets the following amended case management deadlines pursuant to Federal

                                  14   Rule of Civil Procedure 16 and Civil Local Rule 16-10.

                                  15

                                  16                                     Event                                      Deadline

                                  17     Expert disclosures                                               December 22, 2020

                                  18     Rebuttal expert disclosures                                      March 3, 2021
                                  19     Expert discovery cut-off                                         April 9, 2021
                                  20     Last day to file motion for class certification                  April 23, 2021
                                  21
                                         Opposition to motion for class certification                     May 14, 2021
                                  22
                                         Reply in support of class certification                          May 28, 2021
                                  23
                                         Last day to file dispositive and Daubert motions                 June 25, 2021
                                  24
                                         Opposition to dispositive and Daubert motions                    July 9, 2021
                                  25
                                         Reply in support of dispositive and Daubert motion               July 16, 2021
                                  26
                                  27     Pretrial conference                                              November 10, 2021

                                  28     Jury Trial                                                       December 6, 2021
                                           Case 3:18-cv-04978-JD Document 252 Filed 11/23/20 Page 2 of 2




                                   1          All dates set by the Court should be regarded as firm. Counsel may not modify these dates

                                   2   by stipulation without leave of court. Requests for continuances are disfavored, and scheduling

                                   3   conflicts that are created subsequent to the date of this order by any party, counsel or party-

                                   4   controlled expert or witness will not be considered good cause for a continuance. Sanctions may

                                   5   issue for a failure to follow a scheduling or other pretrial order. See Fed. R. Civ. P. 16(f)(1)(C).

                                   6          IT IS SO ORDERED.

                                   7   Dated: November 20, 2020

                                   8                                                    ______________________________________
                                                                                        JAMES DONATO
                                   9                                                    United States District Judge
                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                          2
